              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                CRIMINAL CASE NO. 1:07-cr-00032-MR-1


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                 ORDER
                                )
                                )
RODNEY LAMONT ALLEN.            )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion

60(b)(4)” [Doc. 266].

      On June 9, 2007, the Defendant pled guilty to the charge of

conspiracy to possess with intent to distribute crack cocaine, in violation of

21 U.S.C. §§ 846 and 841(a).        [Doc. 1].     On January 28, 2008, the

Defendant was sentenced to 188 months’ imprisonment. [Doc. 120]. The

Defendant did not appeal his sentence or conviction.

      On April 8, 2013, the Defendant filed the present motion pursuant to

Rule 60(b)(4) of the Federal Rules of Civil Procedure, seeking relief from

the Judgment entered in this case on the grounds that the Court erred in

applying a four-level enhancement for the Defendant’s leadership role in

the conspiracy. [Doc. 266].



      Case 1:07-cr-00032-MR   Document 267      Filed 04/26/13   Page 1 of 2
      A defendant may not use the Federal Rules of Civil Procedure to

challenge his criminal judgment. United States v. Grapes, No. 10-7612,

2011 WL 195672, at *1 (4th Cir. Jan. 21, 2011) (“The Federal Rules of Civil

Procedure do not provide a vehicle by which [Defendant] may challenge his

criminal judgment.”) (per curiam), cert. denied, 132 S.Ct. 1946, 182 L.Ed.2d

801 (2012); United States v. Leake, 96 F. App’x 873, 873 (4th Cir. 2004)

(“[Defendant] cannot challenge an order in his criminal case using the

Federal Rules of Civil Procedure....”) (per curiam).             Further, Rule 60(b)

cannot be used as a substitute for a motion seeking collateral review of a

criminal judgment. See United States v. Winestock, 340 F.3d 200, 207 (4th

Cir. 2003). Even if the Court could consider the Defendant’s Motion, it

would be untimely as it was filed more than five years after the expiration of

the time for filing a notice of direct appeal. See United States v. McKelver,

225 F. App'x 185, 186 (4th Cir. 2007) (per curiam).

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion [Doc.

266] is DENIED.                   Signed: April 25, 2013


      IT IS SO ORDERED.




                                        2

      Case 1:07-cr-00032-MR   Document 267           Filed 04/26/13   Page 2 of 2
